                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI
                                   ST. JOSEPH DIVISION


KEVIN JESSE SCRIVENER,

             Plaintiff,
                                                        Case No. 5:23-cv-06123-SRB
v.

TRANS UNION LLC, et al.,

             Defendants.


JOINT MOTION FOR EXTENSION OF TIME FOR DEFENDANT LEXISNEXIS RISK
       SOLUTIONS, INC. TO RESPOND TO PLAINTIFF’S COMPLAINT

        Plaintiff Kevin Jesse Scrivener (“Plaintiff”) served a copy of the Summons and Complaint

on Defendant LexisNexis Risk Solutions, Inc. (“LexisNexis Risk”) on September 26, 2023.

accordingly, LexisNexis Risk’s responsive pleading was due on October 17, 2023.

        Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), LexisNexis Risk respectfully

requests that this Court enter an order extending by twenty-one (21) days the deadline for

LexisNexis Risk to respond to Plaintiff’s Complaint (Dkt. 1) through and including November 7,

2023. Counsel for Plaintiff consents to this request.

        Good cause exists as the parties have worked cooperatively and diligently, neither party

has previously sought any other time extension in this case, and no party will be prejudiced by this

extension.

        A Proposed Order is attached hereto as Exhibit A.




             Case 5:23-cv-06123-SRB Document 8 Filed 10/25/23 Page 1 of 4
      Respectfully submitted this 25th day of October 2023.


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                                            Counsel for Plaintiff




                              CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the foregoing to be electronically filed with
the Clerk of Court using the CM/ECF system, which will send notification of the filing to all
counsel of record.

       This 25th day of October 2023.

                                            /s/ Anthony F. Rupp
                                            Anthony F. Rupp




        Case 5:23-cv-06123-SRB Document 8 Filed 10/25/23 Page 2 of 4
                        EXHIBIT A




Case 5:23-cv-06123-SRB Document 8 Filed 10/25/23 Page 3 of 4
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                 ST. JOSEPH DIVISION


KEVIN JESSE SCRIVENER,

           Plaintiff,
                                                    Case No. 5:23-cv-06123-SRB
v.

TRANS UNION LLC, et al.,

           Defendants.



                                    PROPOSED ORDER

       This matter came before the Court on a Joint Motion for Extension of Time for Defendant

LexisNexis Risk Solutions, Inc. to Respond to Plaintiff’s Complaint.

       Upon consideration thereof, and upon good cause shown, it is hereby ORDERED:

       (1) The Joint Motion is GRANTED; and

       (2) LexisNexis Risk must file its response to Plaintiff’s Complaint no later than

           November 7, 2023.


IT IS SO ORDERED, this ______ day of ________________, 2023.




                                            ___________________________________
                                            Hon. Stephen R. Bough
                                            United States District Judge




          Case 5:23-cv-06123-SRB Document 8 Filed 10/25/23 Page 4 of 4
